      Case 18-51282-sms          Doc 25      Filed 05/15/19 Entered 05/15/19 10:29:46                  Desc Order
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                                    UNITED STATES BANKRUPTCY COURT

                                             Northern District of Georgia


In     Debtor(s)
Re:    GMNC Investments LLC                                  Case No.: 18−51282−sms
       1960 Spectrum Circle                                  Chapter: 7
       Suite 100                                             Judge: Sage M. Sigler
       Marietta, GA 30067

       27−3853092




                    ORDER APPROVING TRUSTEE'S REPORT OF NO DISTRIBUTION,
                          DISCHARGING TRUSTEE AND CLOSING ESTATE



It appearing to the Court that

                                                    Jordan E. Lubin



the Trustee in said case, has filed a report of no distribution and that said Trustee has performed all other and further
duties as required in the administration of said estate;

IT IS THEREFORE ORDERED that said report be and it hereby is approved and that the said estate be and it
hereby is closed; that the Trustee be and hereby is discharged from and relieved of the trust.




                                                             Sage M. Sigler
                                                             United States Bankruptcy Judge


Dated: May 15, 2019
Form 184
